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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, JUDGE
__________________________________________
HYAXIOM, INC., F/K/A DOOSAN                :
FUEL CELL AMERICA, INC.,                   :
                                           :
                  Plaintiff,               :
                                          :
            v.                             : Court No. 21-00057
                                          :
UNITED STATES OF AMERICA;                  :
U.S. CUSTOMS & BORDER PROTECTION;          :
TROY A. MILLER,                            :
PERFORMING THE DUTIES OF THE               :
COMMISSIONER,                              :
                                          :
                  Defendants.              :
__________________________________________:

                                              ORDER

         Upon consideration of the parties’ Joint Status Report and other papers and proceedings

had herein, it is hereby

         ORDERED that this action shall proceed according to the following schedule:

         1.     The parties will file a Joint Statement of Material facts for Which There is no

Genuine Issue to be Tried by Friday, March 28, 2025;

         2.     Plaintiff will file its renewed motion for summary judgment by Friday, April 25,

2025;

         3.     Defendants will file their renewed cross motion for summary judgment and

response brief by Friday, June 6, 2025; and

         4.     Plaintiff will file its response and reply brief by Thursday, July 3, 2024.



                                                _____________________________
                                                           Judge
Dated: __________________
New York, New York

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